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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

)
LUCAS CALIXTO, et al., )
)
Plaintiffs, )
)
v. ) Civil Action No. 1:18-cv-01551

) The Honorable Ellen Segal Huvelle
UNITED STATES DEPARTMENT OF )
THE ARMY, et al., )
)
Defendants. )
)
)

 

DECLARATION OF LIN H. ST. CLAIR

Pursuant to 28 U.S.C. § 1746, Ihereby declare as follows:

l. I make this declaration in response to the District Court’s Order on August 13,
2018. This Declaration responds to the Court’s inquiries regarding: (l .) the status of the Army’s
policy relating to administrative procedures applicable to members of the Delayed Entry
Program (DEP) and Delayed Training Pro gram (DTP), including updates that resulted from Mr.
Marshall Williams’ July 20, 2018 memorandum (ECF No. 22-1 at Ex. A); (2.) the number of
MAVNIs Who received a discharge order from the U.S. Army Recruiting Command (USAREC)
and/or the U.S. Army Reserve Command (USARC) and Whose discharge order(s) have been
revoked and/or Whose involuntary separation is under review as a result of the July 20, 2018
memorandum; and (3.) the Army’s timeline for implementation of any new policy and expected
time When the Army Will resume involuntary separations against any DEP or DTP member in
accordance With this policy.

2. I am currently the Assistant Deputy for Recruiting, Office of the Assistant

Secretary of the Army (Manpower & Reserve Affairs). In this capacity, I serve as the Senior

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Advisor on all matters relating to military accessions and retention for the Assistant Secretary of
the Army for Manpower and Reserve Affairs, the Principal Deputy, and the Deputy Assistant
Secretary of the Army for Military Personnel. I have oversight responsibilities for the Army’s
officer and enlisted accessions and retention programs across all components. In this capacity, I
serve as the action ofiicer oversight for non-citizen recruiting (MAVNI and Lawful Permanent
Residents). I have previously submitted a declaration in this case. See ECF 22-1.

3. On July 20, 2018, the Acting Assistant Secretary of the Army for Manpower &
Reserve Affairs suspended processing of all involuntary separation actions pertaining to
members of the DEP and DTP who were recruited through the MAVNI Pilot Prograrn. On
August 15, the Deputy Chief of Staff G-1 forwarded recommendations for consideration and
approval. Those recommendations, including the use of redeveloped unfavorable MSSD
memorandums, are being assessed for legal, regulatory and operational feasibility If approved
for use, the redeveloped unfavorable MSSD memorandums will specify the separation
procedures and separation authority for members of the DEP and DTP who receive unfavorable
MSSDs. The memorandums are being redeveloped and are estimated to be completed,
reviewed, and submitted for approval prior to the next bi-weekly status report due on September
4, 2018. The remainder of the operational feasibility assessments, including a determination on
manpower and resource requirements to implement the new policy, can take up to sixty days.
Once approved, and as ordered, a description of the Army’s policy relating to the administrative
separation procedures applicable to members of the DEP and DTP who receive unfavorable
MSSDS will be filed with the Court at least 14 days prior to initiating any separation

proceedings

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4. As of August 17, 2018, USAREC has reinstated, in the DTP, 32 members of the
MAVNI program, and USARC has revoked discharge orders for 6 members of the MAVNI
program, including the named plaintiffs In total, including those MAVNI members whose
orders have been revoked, the separation proceedings for 149 MA_VNIS have been suspended and
are under review pursuant to the July 20, 2018 memorandum.

5. Given the recommendations, if they are operationally feasible, it can be up to
sixty days before the policy and procedures are finalized. After these procedures have been
approved and finalized, it can be up to another thirty to sixty days before notification packets can

be built and separation proceedings can be initiated.

I declare under penalty of perjury that the foregoing is true and correct. Executed on August 20,

`“ LIN H. ST. CLAIR

2018.

